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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                                  CRIMINAL ACTION

VERSUS                                                                                 No. 09-157

CHARLES RAYMOND                                                                      SECTION I

                                                 ORDER

           Before the Court is a motion for an out-of-time appeal filed by defendant, Charles

Raymond (“Raymond”), pursuant to 28 U.S.C. § 2255.1 The government has filed an opposition,

but it did not address whether Raymond’s § 2255 motion is timely.2

           IT IS ORDERED that if the government does not intend to waive the statute of

limitations defense, it shall file a memorandum with respect to the timeliness of Raymond’s

motion no later than Tuesday, April 30, 2013. See Wood v. Milyard, 132 S. Ct. 1826 (2012);

United States v. Pierce, 489 F. App’x 767 (5th Cir. 2012). The government should specifically

address whether the one-year limitations period was tolled by the amended judgment entered on

April 2, 2012, which modified the restitution order to name additional defendants responsible for

the restitution obligation. See, e.g., 18 U.S.C. § 3664(o) (“A sentence that imposes an order of

restitution is a final judgment notwithstanding the fact that . . . such a sentence can subsequently

be . . . amended . . . or . . . adjusted.”).



1
    R. Doc. No. 460.
2
    R. Doc. No. 461.
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       IT IS FURTHER ORDERED that defendant shall file a response to the government’s

defense, if any, by Tuesday, May 7, 2013.



       New Orleans, Louisiana, April 23, 2013.

                                                 __________________________________
                                                        LANCE M. AFRICK
                                                 UNITED STATES DISTRICT JUDGE
